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                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION




         Intercurrency Software LLC,
                                                                Case No. 2:24-cv-255
                        Plaintiff,
                                                                Jury Trial Demanded
                        v.

         Monex Group, Inc.,

                        Defendant.


                   ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Intercurrency Software LLC (“Intercurrency” or “Plaintiff”) hereby files this Original Complaint

for Patent Infringement against Monex Group, Inc. (collectively, “Monex” or “Defendant”), and alleges,

upon information and belief, as follows:

                                            THE PARTIES

1.     Intercurrency Software LLC is a limited liability company organized and existing under the laws

       of the State of Texas with its principal place of business at 3333 Preston Road, Suite 300, Frisco,

       Texas 75034.

2.     Defendant Monex Group, Inc. is a company incorporated under the laws of Japan, with a place of

       business located at 3-6 Maruyamacho, Shibuya-ku 10F E Space Tower, Tokyo, 150-0044, Japan.

3.     Upon information and belief, Defendant is engaged in research and development, manufacturing,

       importation, distribution, sales and related technical services for crypto trading. Defendant is a

       financial services company based in Tokyo, Japan. Monex Inc., its main subsidiary, engages in

       online securities trading, with approximately 2 million accounts. Defendant promotes and controls


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      https://coincheck.com/ and https://www.tradestation.com/ and the Monex family, including

      Coincheck, Inc., TradeStation, Inc., and TradeStation Crypto, Inc. Coincheck is a Japanese bitcoin

      wallet and exchange service headquartered in Tokyo, Japan, founded by Koichiro Wada and

      Yusuke Otsuka. It operates exchanges between bitcoin, ether and fiat currencies in Japan, and

      bitcoin transactions and storage in some countries. TradeStation, its US subsidiary, provides

      securities, options, futures and cryptocurrency trading services.

4.    Defendant’s asset trading is made outside and inside the United States of America sold to end-

      users via the Internet and via distribution partners, retailers, reseller partners, and solution partners,

      including Coincheck, Inc., TradeStation, Inc., and TradeStation Crypto, Inc., all jointly and

      severally liable for operating with the global brand Monex. Those sales occur in the United States,

      and        throughout          Texas,         including         in        this       District.        See

      https://www.fxempire.com/crypto/exchange/coincheck/review                                             and

      https://brokerchooser.com/broker-reviews/tradestation-

      review#:~:text=Yes%2C%20you%20can%20open%20an,live%20in%20the%20United%20State

      s!&text=TradeStation%20is%20a%20US%20broker,world%20can%20open%20an%20account.

                                    JURISDICTION AND VENUE

5.    This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331 and 1338(a).

6.    This Court has personal jurisdiction over Defendant. Defendant has continuous and systematic

      business contacts with the State of Texas. Defendant transacts business within this District and

      elsewhere in the State of Texas. Further, this Court has personal jurisdiction over Defendant based

      on its commission of one or more acts of infringement of patent-in-suit in this District and

      elsewhere in the State of Texas.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                    2
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7.     Upon information and belief, Defendant transacts substantial business in the State of Texas and

       this Judicial District. Defendant has committed acts of infringement in this District by, among

       other things, offering to sell and selling products that infringe the asserted patents, including the

       accused products as alleged herein, as well as providing service and support to its customers in

       this District. Upon information and belief, Defendant, directly or indirectly, participates in the

       stream of commerce that results in products, including the accused products, being made, used,

       offered for sale, and/or sold in the State of Texas and/or imported into the United States to the

       State of Texas.

8.     Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391(b), 1391(c) and 1400(b)

       because, among other things, Defendant is subject to personal jurisdiction in this Judicial District,

       Defendant has regularly conducted business in this Judicial District, certain of the acts complained

       of herein occurred in this Judicial District, and Defendant is not a resident in the United States and

       may be sued in any judicial district.

                                            PATENTS-IN-SUIT

9.     Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patent 10,062,107 (the “’107

       Patent”), U.S. Patent 10,776,863 (the “’863 Patent”), and U.S. Patent 11,449,930 (the “’930

       Patent”) (hereinafter collectively referred to as the “Patents-in-Suit”).

10.    By written instruments duly filed with the United States Patent and Trademark Office, Plaintiff is

       assigned all rights, title, and interest in the Patents-in-Suit. As such, Plaintiff has sole and exclusive

       standing to assert the Patents-in-Suit and to bring these causes of action.

11.    The Patents-in-Suit are valid, enforceable, and were duly issued in full compliance with Title 35

       of the United States Code.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                     3
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12.    The Patents-in-Suit have been cited patents issued to well-known industry leaders, including

       industry giant Bank of America.

13.    The Patents-in-Suit each include numerous claims defining distinct inventions. No single claim is

       representative of any other.

14.    The priority date of each of the Patents-in-Suit is at least as early as April 18, 2007. As of the

       priority date, the inventions as claimed were novel, non-obvious, unconventional, and non-routine.

       Indeed, the Patents-in-Suit overcame a number of specific technological problems in the industry

       and provided specific technological solutions.

15.    By way of example, as of the date of invention, the prior art of financial service providers which

       allowed foreign investors to trade U.S. securities required the trades to be done in U.S. currency,

       which required the use of foreign currency exchange brokers before and after trading to realize

       profits. This did not allow foreign investors to have “certain knowledge of what profit or loss he

       was going to get because the currency exchange rate must be obtained for a bulk amount at another

       time, which may fluctuate significantly enough to affect the ultimate profit or loss.” See ’107

       Patent, Col. 1, ll. 38-60.

16.    The prior art did not perform the “the currency conversion [sic] at a transactional level … so that

       a trader or investor knows exactly what profit or loss may occur with a transaction.” The prior art

       did not “show prices as well as conduct all transactions in a currency preferred by an investor,

       regardless of whatever currency being used in the primary market for the security/asset.” Id.,

       Col.1, ll. 61-7 and Col. 2, ll. 1-3.

17.    Therefore, “the invention relates to methods, processes and systems for conducting security

       transactions in a preferred currency, regardless of what original or market currency the securities

       are being traded in and where the transaction may take place.” Id., Col. 2, ll. 15-9.




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18.    Further, as an embodiment of the inventions, the inventions provide “a three-tier architecture [sic]

       which includes a brokerage, a market exchange where securities/assets are traded, and a currency

       exchange where amounts in one currency can be converted to corresponding amounts in another

       currency at prevailing rates,” which “presents all prices, market data, P&L estimates, and

       transaction results or settlements in a preferred currency, in conjunction with the market exchange

       and the currency exchange Id., Col. 2, ll. 24-33.

19.    Thus, “a trader always knows exactly what he/she may end up with a transaction of an asset.

       Furthermore, according to another aspect of the present invention, when the transaction of the asset

       is performed, the consolidated trading platform can also perform a currency conversion

       automatically based on specified conditions.” Id., Col. 2, ll. 33-8.

20.    The inventions of the Patents-in-Suit also contemplate that “orders with conditions (e.g., a limit

       order, or a stop order) are only executed when the conditions are met with reference to the market

       price from the market exchange together with the currency exchange rate from the currency

       exchange.” Id., Col. 2, ll. 45-9.

21.    Moreover, any arguments relating to eligibility as may be made by Defendant here are necessarily

       merely cumulative with those already considered, and rejected, by the Patent Examiners in

       allowing the Patents-in-Suit. See, e.g., Technology Licensing Corp. v. Videotek, Inc., 545 F.3d

       1316, 1337 (Fed. Cir. 2008); Stone Basket Innov. v. Cook Medical, 892 F.3d 1175, 1179 (Fed. Cir.

       2018).

22.    The claims of the Patents-in-Suit are not drawn to laws of nature, natural phenomena, or abstract

       ideas. Although the systems and methods claimed in the Asserted Patents are ubiquitous now

       (and, as a result, are widely infringed), the specific combinations of elements, as recited in the

       claims, were not conventional or routine at the time of the invention.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               5
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23.    Further, the claims of the Patents-in-Suit contain inventive concepts. Even if a court ruled the

       underlying aspects to be abstract, the inventive concepts disclosed in sufficient detail would

       transform the claims into patent-eligible subject matter.

24.    Patent Examiners investigated fields of art exactly relevant to the patented inventions, such as

       G06Q40/00 and G06Q40/04.

25.    Specifically, the examiner investigated G06Q40/00, which covers subject matter drawn to a

       computerized arrangement for planning the disposition or use of funds or securities, or extension

       of credit; data processing systems or processes specially adapted for financial applications, e.g.

       management of monetary assets in data processing systems or on-line banking, electronic funds

       transfer (eft) systems, financial or exchange applications, e.g. trading stock, options, ordering of

       stock, index balancing investment, e.g. fund management, and portfolio management.

26.    Additionally, the examiner also performed searches in the field of G06Q40/04, which covers the

       trading or exchange of securities or commodities within an organized system; data processing

       systems or processes specially adapted for trading in the context of stock, FX exchanges, e.g.

       trading of stocks and currency exchange; Stock exchange applications, e.g. Trading stock, options,

       ordering of stock, general stock trading administration Foreign exchange, e.g. currency trading

       and currency exchange.

27.    The claims of the Patents-in-Suit are patent eligible under 35 U.S.C. § 101, 102, 103, and 112, as

       reflected by the fact that three different Patent Examiners all agreed and allowed the Patents-in-

       Suit over extensive prior art as disclosed and of record during the prosecution of the Patents-in-

       Suit. See Stone Basket Innov., 892 F.3d at 1179 (“when prior art is listed on the face of a patent,

       the examiner is presumed to have considered it”) (citing Shire LLC v. Amneal Pharm., LLC, 802




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               6
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       F.3d 1301, 1307 (Fed. Cir. 2015)); Exmark Mfg. v. Briggs & Stratton, 879 F.3d 1332, 1342 (Fed.

       Cir. 2018).

28.    After giving full proper credit to the prior art and having conducted a thorough search for all

       relevant art and having fully considered the most relevant art known at the time, the United States

       Patent Examiners allowed all of the claims of the Patents-in-Suit to issue. In so doing, it is

       presumed that Examiners used their knowledge of the art when examining the claims. See K/S

       Himpp v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed

       that Patent Examiners had experience in the field of the invention, and that the Patent Examiners

       properly acted in accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338,

       1345 (Fed. Cir. 2002).

29.    The claims of the ’107 Patent are novel and non-obvious, including over all non-cited art that is

       merely cumulative with the referenced and cited prior art. See 37 C.F.R. § 1.56(b) (information is

       material to patentability when it is not cumulative to information already of record in the

       application); see also AbbVie Deutschland GmbH v. Janssen Biotech, 759 F.3d 1285, 1304 (Fed.

       Cir. 2014); In re DBC, 545 F.3d 1373, 1382 (Fed. Cir. 2008). Likewise, the claims of the ’107

       Patent are novel and non-obvious, including over all non-cited contemporaneous state of the art

       systems and methods, all of which would have been known to a person of ordinary skill in the art,

       and which were therefore presumptively also known and considered by the Examiners. See, e.g.,

       St. Clair I.P. Consultants v. Canon, Inc., 2011 WL 66166 at *6 (Fed. Cir. 2011); In re Sang Su

       Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002); In re Koninklijke Philips Patent Litigation, 2020 WL

       7392868 at *19 (N.D. Cal. 2020); Standard Oil v. American Cyanamid, 774 F.2d 448, 454 (Fed.

       Cir. 1985) (persons of ordinary skill are presumed to be aware of all pertinent prior art).




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              7
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                             THE ACCUSED INSTRUMENTALITIES

30.    Upon information and belief, Defendant makes, sells, advertises, offers for sale, uses, or otherwise

       provides an apparatus and method for a consolidated trading platform covered by the Patents-in-

       Suit, including its Coincheck and TradeStation trading platforms and systems, as represented

       below, including all augmentations to these platforms or descriptions of platforms. Collectively,

       all the foregoing is referred to herein as the “Accused instrumentalities.”




          See https://coincheck.com/exchange (screenshot Monex’s offering of Accused
           Instrumentalities).




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               8
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          See https://www.tradestation.com/platforms-and-tools/mobile-apps/ (screenshot
           Monex’s offering of Accused Instrumentalities).

                                              COUNT I
                              Infringement of U.S. Patent No. 10,062,107

31.    Plaintiff incorporates the above paragraphs by reference.

32.    Defendant has been on actual notice of the ’107 Patent at least as early as the date it received

       service of the Original Complaint in this litigation.

33.    Plaintiff or its predecessors-in-interest have satisfied all statutory obligations required to collect

       pre-filing damages for the full period allowed by law for infringement of the ’107 patent, thus the

       damages period begins at least as early as six years prior to the date of service of the Original

       Complaint in this litigation.

34.    Defendant manufactures, sells, offers for sale, owns, directs, and/or controls the operation of the

       Accused Instrumentalities and generates substantial financial revenues and benefits therefrom.



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 9
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35.     Defendant has directly infringed and continues to directly infringe the claims of the ’107 Patent.

        As exemplary, Claim 1 is infringed by making, using, importing, selling, and/or offering for sale

        the Accused Instrumentalities.     Defendant directly makes and sells the infringing Accused

        Instrumentalities at least because it is solely responsible for putting the infringing systems into

        service by directing or controlling the systems as a whole and by obtaining the benefits therefrom.

        More specifically, as shown in Exhibit A, and on information and belief, with respect to the

        Accused Instrumentalities, Defendant:

               •   (i) practices and provides a trading server, such as its trading servers coupled to one or

                   more currency exchange servers, and one or more market exchange servers;

               •   (ii) practices and provides receiving in the trading server an indicator of a preferred

                   currency from a trader;

               •   (iii) practices and provides causing a client computer associated with the trader to

                   display at least an asset in the preferred currency while the asset is being traded in a

                   market currency, wherein said causing a client computer associated with the trader to

                   display at least an asset in the preferred currency comprises;

               •   (iv) practices and provides conducting in the trading server a transaction of the asset by

                   transmitting a transaction request from the trading server to a market exchange server

                   when the trader decides to proceed with trading the asset;

               •    (v) practices and provides receiving a settlement notification in the trading server when

                   the transaction of the asset is performed by the market exchange server in accordance

                   with conditions set by the user, wherein the conditions include a price at which the

                   asset is traded in the preferred currency, the trading server is configured to calculate

                   the prevailing exchange rate from all exchange rates obtained from the one or more



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                10
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                   currency exchange servers right before the transaction takes place when the asset is not

                   priced in the preferred currency, and executes the transaction with the calculated

                   prevailing exchange rate obtained at the transaction to prevent uncertainty in currency

                   exchanges in another time; and

               •   (vi) practices and provides performing a currency conversion of some portion or all of

                   the transaction from the market currency to the preferred currency when the preferred

                   currency is not identical to the market currency, the conversion being performed with

                   the calculated prevailing exchange rate.

36.     Further on information and belief, Defendant directly uses the infringing Accused

        Instrumentalities at least because it assembled the combined infringing elements and makes them

        collectively available in the United States, including via its Internet domain web pages and/or

        software applications, as well as via its internal systems and interfaces.         Further, and on

        information and belief, Defendant has directly infringed by using the infringing Accused

        Instrumentalities as part of its ongoing and regular testing and/or internal legal compliance

        activities. Such testing and/or legal compliance necessarily requires Defendant to make and use

        the Accused Instrumentalities in an infringing manner. Still further, Defendant is a direct infringer

        by virtue of its branding and marketing activities, which collectively comprise the sale and offering

        for sale of the infringing Accused Instrumentalities.

37.     As shown above, Defendant is making, using, and offering for sale the Accused Instrumentalities.

38.     Additionally, upon information and belief, Defendant owns, directs, and/or controls the infringing

        method operation of the Accused Instrumentalities.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                11
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39.     On information and belief, the infringement of the ’107 Patent by Defendant will now be willful

        through the filing and service of this Complaint. The ’107 Patent is not expected to expire before

        October 28, 2033.

40.     In addition or in the alternative, Defendant now has knowledge and continues these actions and it

        indirectly infringes by way of inducing direct infringement by others and/or contributing to the

        infringement by others of the ’107 Patent in the State of Texas, in this judicial district, and

        elsewhere in the United States, by, among other things, making, using, importing, offering for sale,

        and/or selling, without license or authority, infringing services for use in systems that fall within

        the scope of the claims of the ’107 Patent. This includes without limitation, one or more of the

        Accused Instrumentalities by making, using, importing offering for sale, and/or selling such

        services, Defendant injured Plaintiff and is thus liable to Plaintiff for infringement of the ’107

        Patent under 35 U.S.C. § 271.

41.     Now with knowledge of the ’107 Patent, Defendant induces infringement under Title 35 U.S.C. §

        271(b). Defendant will have performed actions that induced infringing acts that Defendant knew

        or should have known would induce actual infringements. See Manville Sales Corp. v. Paramount

        Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp. v. JMS Co., 471 F.3d

        1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding of inducement requires a

        threshold finding of direct infringement—either a finding of specific instances of direct

        infringement or a finding that the accused products necessarily infringe.” Ricoh, 550 F.3d at 1341

        (citing ACCO Brands, Inc. v. ABA Locks Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).

42.     Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element. See Fuji

        Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee may prove

        intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 668




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                12
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        (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not required; rather,

        circumstantial evidence may suffice.”).

43.     Defendant has taken active steps to induce infringement, such as advertising an infringing use,

        which supports a finding of an intention for the accused product to be used in an infringing manner.

        See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162

        L. Ed. 2d 781 (2005) (explaining that the contributory infringement doctrine “was devised to

        identify instances in which it may be presumed from distribution of an article in commerce that

        the distributor intended the article to be used to infringe another’s patent, and so may justly be held

        liable for that infringement”).

44.     In addition, on information and belief, and based in part upon the clear infringement by the

        Accused Instrumentalities, Defendant has a practice of not performing a review of the patent rights

        of others first for clearance or to assess infringement thereof prior to launching products and

        services. As such, Defendant has been willfully blind to the patent rights of Plaintiff.

45.     The foregoing infringement on the part of Defendant has caused past and ongoing injury to

        Plaintiff. The specific dollar amount of damages adequate to compensate for the infringement

        shall be determined at trial but is in no event less than a reasonable royalty from the date of first

        infringement to the expiration of the ’107 Patent.

46.     Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                              COUNT II
                               Infringement of U.S. Patent No. 10,776,863

47.     Plaintiff incorporates the above paragraphs by reference.

48.     Defendant has been on actual notice of the ’863 Patent at least as early as the date it received

        service of the Original Complaint in this litigation.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                  13
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49.     Plaintiff or its predecessors-in-interest have satisfied all statutory obligations required to collect

        pre-filing damages for the full period allowed by law for infringement of the ’863 patent, thus the

        damages period begins at least as early as six years prior to the date of service of the Original

        Complaint in this litigation.

50.     Defendant manufactures, sells, offers for sale, owns, directs, and/or controls the operation of the

        Accused Instrumentalities and generates substantial financial revenues and benefits therefrom.

51.     Defendant has directly infringed and continues to directly infringe the claims of the ’863 Patent.

        As exemplary, Claim 1 is infringed by making, using, importing, selling, and/or offering for sale

        the Accused Instrumentalities.     Defendant directly makes and sells the infringing Accused

        Instrumentalities at least because it is solely responsible for putting the infringing systems into

        service by directing or controlling the systems as a whole and by obtaining the benefits therefrom.

        More specifically, as shown in Exhibit A, and on information and belief, with respect to the

        Accused Instrumentalities, Defendant practices and provides a trading server, such as the

        Defendant trading servers coupled to one or more currency exchange servers, such as Defendant

        servers, and one or more market exchange servers.

52.     Further on information and belief, Defendant directly uses the infringing Accused

        Instrumentalities at least because it assembled the combined infringing elements and makes them

        collectively available in the United States, including via its Internet domain web pages and/or

        software applications, as well as via its internal systems and interfaces.          Further, and on

        information and belief, Defendant has directly infringed by using the infringing Accused

        Instrumentalities as part of its ongoing and regular testing and/or internal legal compliance

        activities. Such testing and/or legal compliance necessarily requires Defendant to make and use

        the Accused Instrumentalities in an infringing manner. Still further, Defendant is a direct infringer




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 14
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        by virtue of its branding and marketing activities, which collectively comprise the sale and offering

        for sale of the infringing Accused Instrumentalities.

53.     As shown above, Defendant is making, using, and offering for sale the Accused Instrumentalities.

54.     Additionally, upon information and belief, Defendant owns, directs, and/or controls the infringing

        method operation of the Accused Instrumentalities.

55.     On information and belief, the infringement of the ’863 Patent by Defendant will now be willful

        through the filing and service of this Complaint. The ’863 Patent does not expire before May 24,

        2027.

56.     In addition or in the alternative, Defendant now has knowledge and continues these actions and it

        indirectly infringes by way of inducing direct infringement by others and/or contributing to the

        infringement by others of the ’863 Patent in the State of Texas, in this judicial district, and

        elsewhere in the United States, by, among other things, making, using, importing, offering for sale,

        and/or selling, without license or authority, infringing services for use in systems that fall within

        the scope of the claims of the ’863 Patent. This includes without limitation, one or more of the

        Accused Instrumentalities by making, using, importing offering for sale, and/or selling such

        services, Defendant injured Plaintiff and is thus liable to Plaintiff for infringement of the ’863

        Patent under 35 U.S.C. § 271.

57.     Now with knowledge of the ’863 Patent, Defendant induces infringement under Title 35 U.S.C. §

        271(b). Defendant will have performed actions that induced infringing acts that Defendant knew

        or should have known would induce actual infringements. See Manville Sales Corp. v. Paramount

        Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp. v. JMS Co., 471 F.3d

        1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding of inducement requires a

        threshold finding of direct infringement—either a finding of specific instances of direct




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                15
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        infringement or a finding that the accused products necessarily infringe.” Ricoh, 550 F.3d at 1341

        (citing ACCO Brands, Inc. v. ABA Locks Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).

58.     Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element. See Fuji

        Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee may prove

        intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 668

        (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not required; rather,

        circumstantial evidence may suffice.”).

59.     Defendant has taken active steps to induce infringement, such as advertising an infringing use,

        which supports a finding of an intention for the accused product to be used in an infringing manner.

        See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162

        L. Ed. 2d 781 (2005) (explaining that the contributory infringement doctrine “was devised to

        identify instances in which it may be presumed from distribution of an article in commerce that

        the distributor intended the article to be used to infringe another’s patent, and so may justly be held

        liable for that infringement”).

60.     In addition, on information and belief, and based in part upon the clear infringement by the

        Accused Instrumentalities, Defendant has a practice of not performing a review of the patent rights

        of others first for clearance or to assess infringement thereof prior to launching products and

        services. As such, Defendant has been willfully blind to the patent rights of Plaintiff.

61.     The foregoing infringement on the part of Defendant has caused past and ongoing injury to

        Plaintiff. The specific dollar amount of damages adequate to compensate for the infringement

        shall be determined at trial but is in no event less than a reasonable royalty from the date of first

        infringement to the expiration of the ’863 Patent.

62.     Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                  16
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                                              COUNT III
                               Infringement of U.S. Patent No. 11,449,930

63.     Plaintiff incorporates the above paragraphs by reference.

64.     Defendant has been on actual notice of the ’930 Patent at least as early as the date it received

        service of the Original Complaint in this litigation.

65.     Plaintiff or its predecessors-in-interest have satisfied all statutory obligations required to collect

        pre-filing damages for the full period allowed by law for infringement of the ’930 patent, thus the

        damages period begins at least as early as six years prior to the date of service of the Original

        Complaint in this litigation.

66.     Defendant manufactures, sells, offers for sale, owns, directs, and/or controls the operation of the

        Accused Instrumentalities and generates substantial financial revenues and benefits therefrom.

67.     Defendant has directly infringed and continues to directly infringe the claims of the ’930 Patent.

        As exemplary, Claim 12 is infringed by making, using, importing, selling, and/or offering for sale

        the Accused Instrumentalities.     Defendant directly makes and sells the infringing Accused

        Instrumentalities at least because it is solely responsible for putting the infringing systems into

        service by directing or controlling the systems as a whole and by obtaining the benefits therefrom.

        More specifically, as shown in Exhibit A, and on information and belief, with respect to the

        Accused Instrumentalities, Defendant provides a trading server, such as the Defendant trading

        servers coupled to one or more currency exchange servers, such as Defendant servers, and one or

        more market exchange servers.

68.     Further on information and belief, Defendant directly uses the infringing Accused

        Instrumentalities at least because it assembled the combined infringing elements and makes them

        collectively available in the United States, including via its Internet domain web pages and/or

        software applications, as well as via its internal systems and interfaces.          Further, and on



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        information and belief, Defendant has directly infringed by using the infringing Accused

        Instrumentalities as part of its ongoing and regular testing and/or internal legal compliance

        activities. Such testing and/or legal compliance necessarily requires Defendant to make and use

        the Accused Instrumentalities in an infringing manner. Still further, Defendant is a direct infringer

        by virtue of its branding and marketing activities, which collectively comprise the sale and offering

        for sale of the infringing Accused Instrumentalities.

69.     As shown above, Defendant is making, using, and offering for sale the Accused Instrumentalities.

70.     Additionally, upon information and belief, Defendant owns, directs, and/or controls the infringing

        method operation of the Accused Instrumentalities.

71.     On information and belief, the infringement of the ’930 Patent by Defendant will now be willful

        through the filing and service of this Complaint. The ’930 Patent does not expire before April 18,

        2027.

72.     In addition or in the alternative, Defendant now has knowledge and continues these actions and it

        indirectly infringes by way of inducing direct infringement by others and/or contributing to the

        infringement by others of the ’930 Patent in the State of Texas, in this judicial district, and

        elsewhere in the United States, by, among other things, making, using, importing, offering for sale,

        and/or selling, without license or authority, infringing services for use in systems that fall within

        the scope of the claims of the ’930 Patent. This includes without limitation, one or more of the

        Accused Instrumentalities by making, using, importing offering for sale, and/or selling such

        services, Defendant injured Plaintiff and is thus liable to Plaintiff for infringement of the ’863

        Patent under 35 U.S.C. § 271.

73.     Now with knowledge of the ’930 Patent, Defendant induces infringement under Title 35 U.S.C. §

        271(b). Defendant will have performed actions that induced infringing acts that Defendant knew




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        or should have known would induce actual infringements. See Manville Sales Corp. v. Paramount

        Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp. v. JMS Co., 471 F.3d

        1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding of inducement requires a

        threshold finding of direct infringement—either a finding of specific instances of direct

        infringement or a finding that the accused products necessarily infringe.” Ricoh, 550 F.3d at 1341

        (citing ACCO Brands, Inc. v. ABA Locks Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).

74.     Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element. See Fuji

        Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee may prove

        intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 668

        (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not required; rather,

        circumstantial evidence may suffice.”).

75.     Defendant has taken active steps to induce infringement, such as advertising an infringing use,

        which supports a finding of an intention for the accused product to be used in an infringing manner.

        See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162

        L. Ed. 2d 781 (2005) (explaining that the contributory infringement doctrine “was devised to

        identify instances in which it may be presumed from distribution of an article in commerce that

        the distributor intended the article to be used to infringe another’s patent, and so may justly be held

        liable for that infringement”).

76.     In addition, on information and belief, and based in part upon the clear infringement by the

        Accused Instrumentalities, Defendant has a practice of not performing a review of the patent rights

        of others first for clearance or to assess infringement thereof prior to launching products and

        services. As such, Defendant has been willfully blind to the patent rights of Plaintiff.




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77.     The foregoing infringement on the part of Defendant has caused past and ongoing injury to

        Plaintiff. The specific dollar amount of damages adequate to compensate for the infringement

        shall be determined at trial but is in no event less than a reasonable royalty from the date of first

        infringement to the expiration of the ’930 Patent.

78.     Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                         PRAYER FOR RELIEF

        WHEREFORE, Intercurrency Software LLC respectfully requests the Court enter judgment

against Defendant as follows:

        1.     Declaring that Defendant has infringed the Patents-in-Suit;

        2.     Awarding Plaintiff its damages suffered because of Defendant’s infringement of the

               Patents-in-Suit;

        3.     Enter a judgment awarding treble damages pursuant to 35 U.S.C. §284 for Defendant’s

               willful infringement of the Patents-in-Suit;

        4.     Awarding Plaintiff its costs, reasonable attorneys’ fees, expenses, and interest; and

        5.     Granting Plaintiff such further relief as the Court finds appropriate.

                                             JURY DEMAND

        Plaintiff demands trial by jury, under Fed. R. Civ. P. 38.




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                                        Respectfully Submitted

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